






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00514-CR






Teodoro Sosa, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT

NO. D-1-DC-05-300497, HONORABLE MICHAEL LYNCH, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant's brief was due April 27, 2009.  The brief has not been received, no
extension of time has been requested, and appellant's retained attorney, Leonard Martinez, did not

respond to this Court's notice that the brief is overdue.

		The appeal is abated.  The trial court shall conduct a hearing to determine whether
appellant desires to prosecute this appeal and whether retained counsel has abandoned the appeal. 
See Tex. R. App. P. 38.8(b)(2). (1)  The court shall make appropriate findings and recommendations. 
A record from this hearing, including copies of all findings and orders and a transcription of the court
reporter's notes, shall be forwarded to the Clerk of this Court for filing as a supplemental record no
later than July 16, 2009.  See Tex. R. App. P. 38.8(b)(3).


__________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Puryear and Henson

Abated

Filed:   June 16, 2009

Do Not Publish
1.   Significantly, this appeal was previously abated on March 12, 2008, due to counsel's failure
to file an appellate brief.  After a hearing, in which the trial court found that Leonard Martinez
intended to continue his representation of appellant, the appeal was reinstated.


